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                       UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MAINE

IN RE:                             )
                                   )
CARLTON DANA PRATT                 )      CHAPTER 7
CHRISTIE ANN PRATT,                )      CASE NO. 98-20291
                                   )
           Debtors                 )
***************************
CARLTON DANA PRATT          )
CHRISTINE ANN PRATT,        )
                            )
           PLAINTIFFS       )
                            )
vs.                         )             ADVERSARY PROCEEDING
                            )             No. 04-
GENERAL MOTORS              )
ACCEPTANCE CORPORATION             )
                                   )
              DEFENDANT            )

                                       COMPLAINT

      NOW COME the Debtors, by and through counsel, and complain against
Defendant, General Motors Acceptance Corporation, as follows:

       1.     Jurisdiction in this matter, pursuant to 28 U.S.C. §1334(a) and (b); venue is
appropriate in this District pursuant to 28 U.S.C. §1408. This is a core proceeding under 28
U.S.C. §157(b)(2)(A), and is further brought under 11 U.S.C. §§524, 105.

      2.     The Debtors filed their Chapter 13 Bankruptcy Case on March 4, 1998,
which case converted to Chapter 7 on May 10, 1999.

       3.      The Debtors listed General Motor Acceptance Corporation as a secured
creditor in the Debtors’ Schedules.

      4.     On June 25, 1999, the Defendant received Relief from Stay, a copy of
which is appended hereto as Exhibit A.

      5.    Debtors received their Discharge on August 17, 1999, a copy of which is
appended hereto as Exhibit B.
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      6.     On October 1, 1999, counsel for Plaintiffs sent a letter to Defendant’s
counsel regarding the turn-over of the vehicle, a copy of which is appended hereto as
Exhibit C.

      7.      Plaintiffs’ counsel received a letter dated October 4, 1999 from Defendant’s
counsel indicating its decision not to pursue the repossession of the vehicle, a copy of
which is appended hereto as Exhibit D.

        8.     On or about August 10, 2000, Plaintiffs’ counsel once again requested the
lien release regarding the vehicle, a copy of which is appended hereto as Exhibit E.

       9.     Plaintiffs’ counsel, once again, requested the lien release so that it could
dispose of the vehicle by letter to GMAC Asset Recovery Center dated December 17,
2003, a copy of which is appended hereto as Exhibit F.

      10.    Plaintiffs’ telephonically requested from Defendant the lien release, but
Defendant refused to provide the release unless it was paid.

       11.   Plaintiffs have not been able to dispose of the vehicle without the lien
release from Defendant.

       12.     Defendant’s actions, and through its representatives, are willful, malicious,
and or in reckless disregard of 11 U.S.C. §524, and the Bankruptcy Code generally.

        13.    Defendant’s actions, through its representatives, demonstrate Defendant’s
intention to violate 11 U.S.C. §524.

       14.     Plaintiffs are entitled to receive from Defendant actual damages, including
costs and attorneys fees, and punitive damages from Defendant in this matter pursuant to 11
U.S.C. §§524 and 105.

       WHEREFORE, Plaintiffs pray that this Court sanction Defendant, award such actual
damages, including costs, attorneys fees and punitive damages as are appropriate, and grant
such other and further relief as this Court deems just and reasonable.

       Dated at Saco, Maine, this 3rd day of February, 2004.

                                            JAMES F. MOLLEUR, LLC

                                       By:__/s/ James F. Molleur, Esq.__________
                                            James F. Molleur, Esq.
                                            Counsel for Debtor(s)
                                            P.O. Box 619, 209 Main St., Suite 104
                                            Saco, ME 04072-0619
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vs.                         )                  ADVERSARY PROCEEDING
                            )                  No. 04-
GENERAL MOTORS              )
ACCEPTANCE CORPORATION                 )
                                       )
                DEFENDANT              )

                                   CERTIFICATE OF SERVICE

         I, James F. Molleur, Esq., hereby certify that I am over eighteen years old and caused a true
and correct copy of a Complaint to be served on the parties at the addresses set forth on the Service
List attached hereto either via electronically or via facsimile and first class U.S. Mail, postage
prepaid.

        Dated at Saco, Maine, this 6th day of February, 2004.

                                               JAMES F. MOLLEUR, LLC

                                           By:__/s/ James F. Molleur, Esq.__________
                                               James F. Molleur, Esq.
                                               Counsel for Debtor(s)
                                               P.O. Box 619, 209 Main St., Suite 104
                                               Saco, ME 04072-0619
                                               (207) 283-3777
                                           SERVICE LIST

John C. Turner, Trustee.                               Served electronically

Robert Checkoway, Esq.                                 Served electronically
U.S. Trustee’s Office
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F. Bruce Sleeper, Esq.                              Served electronically


GMAC Asset Recovery Center                          Served via U.S. Mail
P.O. Box 7041
Troy, MI 48007

Carlton & Christie Pratt                            Served via U.S. Mail
35 Water St., Apt. 204B
Saco, ME 04072
